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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

                      Case Number: 21-61463-CIV-MARTINEZ-BECERRA

  WBDH-BC HOLDINGS LTD.,

         Plaintiff,

  vs.

  VARSATEL CORPORATION, COMTEL
  DIRECT, LLC, HARRISON VARGAS, GINNA
  PAULSEN, LOUIS ARRIOLA, THE MAPLE
  WOOD ISLE ASSOCIATION, INC., CHT
  HOLDINGS,      LLC,    FRANQUICIAS
  CALLNET, LLC, and CHT HOLDINGS
  DOMINICANA, SAS,

        Defendants.
  _____________________________________/

                                             ORDER

         THIS CAUSE came before the Court sua sponte. On May 13, 2022, Plaintiff filed a

  motion for partial summary judgment against Defendants Varsatel Corporation, Comtel Direct,

  LLC, Harrison Vargas, Ginna Paulsen, the Maple Wood Isle Association, Inc., and Louis Arriola,

  (ECF No. 146). Below the Court addresses the Defendants’ responses, or lack thereof, to this

  motion.

         To begin with, a clerk’s default has been entered against Louis Arriola and the Maple Wood

  Isle Association, Inc. (ECF Nos. 53, 189). “The appropriate procedure against a defendant in

  default is a motion for default judgment, not a motion for summary judgment.” Great Am. Ins.

  Co. v. Delphini Constr. Co., No. 14-cv-1412, 2015 U.S. Dist. LEXIS 194615, at *5 (M.D. Fla.

  Sept. 28, 2015). Accordingly, the Court will not consider Plaintiff’s motion for partial summary




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  judgment as to Arriola and Maple Wood; instead, Plaintiff shall file an appropriate motion for final

  default judgment against them.

         Next, while Defendant Ginna Paulsen has appeared in this case, (ECF No. 13), she has not

  responded to Plaintiff’s motion for partial summary judgment. Despite Paulsen’s failure to file a

  response, the Court cannot enter partial summary judgment without considering the merits of the

  motion. See United States v. One Piece of Real Property Located at 5800 SW 74th Ave., Miami,

  363 F.3d 1099, 1101 (11th Cir. 2004). Before undertaking this review, however, the Court will

  provide Paulsen with one more opportunity to respond.

         Finally, then-counsel for Defendants Harrison Vargas, Comtel, and Varsatel Corporation

  responded to Plaintiff’s motion for partial summary judgment. (ECF No. 171). Counsel did not,

  however, file an opposing statement of material facts, as required under Local Rule 56.1.

  Moreover, after the response was filed, Defendant Harrison Vargas, on behalf of himself and

  Varsatel and Comtel, filed a motion seeking the withdrawal of their counsel, Antonio S. Gonzalez.

  (ECF No. 179).      Within this motion to withdraw, Vargas stated that Mr. Gonzalez was

  “unauthorized” to file the response and filed it “after [having] been discharged as Counsel of

  Record and without Defendant[’s] consent.” (ECF No. 179 ¶¶ 5–6). Mr. Gonzalez also filed a

  motion to withdraw as counsel for Vargas, Comtel, and Varsatel, stating that he filed the response

  to Plaintiff’s motion for partial summary judgment before he received an email terminating his

  representation of Vargas, Comtel, and Varsatel. (ECF No. 177 ¶ 2). The Court granted Mr.

  Gonzalez’s motion to withdraw as counsel for Vargas, Comtel, and Varsatel. (ECF No. 181).

  Since then, Vargas, Comtel, and Varsatel have obtained new counsel. (ECF No. 215). But new

  counsel has not sought to strike the purportedly unauthorized response or otherwise notified the

  Court about its response to Plaintiff’s motion for partial summary judgment.



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         Accordingly, after careful consideration, it is hereby

         ORDERED AND ADJUDGED as follows:

         1.        On or before November 3, 2022, Plaintiff shall file a motion for final default

  judgment that includes affidavits of the amounts due by Defendants Louis Arriola and the Maple

  Wood Isle Association, Inc, if necessary, and any other supporting documentation necessary to

  determine the measure of damages and conclude this action as to Arriola and Maple Wood.

  Plaintiff shall send a copy of the motion to Arriola and the Maple Wood’s counsel, or to Defendants

  themselves, if Defendants do not have counsel. In the certificate of service, Plaintiff shall indicate

  that notice was sent and the address to where it was sent. Plaintiff’s failure to file a motion for

  final default judgment within the specified time will result in a dismissal without prejudice as to

  these Defendants. Pursuant to 28 U.S.C. § 636(b) and the Magistrate Rules of the Local Rules

  of the Southern District of Florida, the above-captioned cause is referred to United States

  Magistrate Judge Jacqueline Becerra to take all necessary and proper action as required by

  law with respect to all matters relating to Plaintiff’s forthcoming motion for final default

  judgment as to Defendants Louis Arriola and Maple Wood Isle Association, Inc.

         2.      On or before November 3, 2022, Defendant Ginna Paulsen shall respond to

  Plaintiff’s motion for partial summary judgment in accordance with the Local Rules and Federal

  Rules of Civil Procedure. The Court will immediately turn to the merits of Plaintiff’s motion for

  partial summary judgment should Paulsen fail to respond to the motion by this date.

         3.      On or before November 3, 2022, counsel for Vargas, Comtel, and Varsatel shall

  file a notice either (1) striking the existing response to Plaintiff’s motion for partial summary

  judgment or (2) informing the Court that the existing response is authorized and that the Court

  should consider it when ruling on Plaintiff’s motion for partial summary judgment. If counsel



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  strikes the existing response, it shall file a new response to Plaintiff’s motion for partial summary

  judgment on or before November 3, 2022. Whether the existing response stands, or a new

  response is filed, counsel for Vargas, Comtel, and Varsatel, shall file a response to Plaintiff’s

  statement of undisputed material facts on or before November 3, 2022. See S.D. Fla. L.R. 56.1.

  Plaintiffs may refile their reply in support of their motion for partial summary judgment, and a

  response to any additional facts asserted in the opposing statement of material facts, in

  consideration of the forthcoming briefing from Vargas, Comtel, and Varsatel.

         DONE AND ORDERED in Miami, Florida, this 20th day of October, 2022.


                                                        ____________________________________
                                                        JOSE E. MARTINEZ
                                                        UNITED STATES DISTRICT JUDGE
  Copies provided to:
  All Counsel of Record




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